                          Case 4:19-cv-07123-PJH Document 33 Filed 03/18/20 Page 1 of 3



              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     KYLE C. WONG (224021) (kwong@cooley.com)
              3      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                     101 California Street, 5th floor
              4      San Francisco, CA 94111-5800
                     Telephone: (415) 693-2000
              5      Facsimile: (415) 693-2222

              6      DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                     (dgrooms@cooley.com)
              7      1299 Pennsylvania Avenue, NW, Suite 700
                     Washington, DC 20004-2400
              8      Telephone: (202) 842-7800
                     Facsimile: (202) 842-7899
              9
                     Attorneys for Plaintiffs
            10       WHATSAPP INC. and FACEBOOK, INC.

            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
            13
            14
                     WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                  NOTICE OF SUPPLEMENTAL FACTS
            16                                                     REGARDING:

            17                       Plaintiffs,                   PLAINTIFFS’ OPPOSITION TO
                                                                   DEFENDANTS’ APPLICATION TO SET
            18             v.                                      ASIDE DEFAULT AND TO ENLARGE TIME
                                                                   TO FILE RESPONSIVE PLEADING TO
            19       NSO GROUP TECHNOLOGIES LIMITED                COMPLAINT; AND
                     and Q CYBER TECHNOLOGIES LIMITED,
            20                                                     PLAINTIFFS’ CROSS-MOTION TO
                                     Defendants.                   AUTHORIZE ALTERNATIVE SERVICE
            21                                                     PURSUANT TO FEDERAL RULE OF CIVIL
                                                                   PROCEDURE 4(F)(3)
            22
                                                                   Date:      April 16, 2020
            23                                                     Time:      1:30 p.m.
                                                                   Courtroom: E, 15th Floor
            24                                                     Judge:     Hon. Jacqueline S. Corley

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                    NOTICE OF SUPPLEMENTAL FACTS
 SAN FRA NCI S CO                                                                      CASE NO. 3:19-CV-07123-JSC
                           Case 4:19-cv-07123-PJH Document 33 Filed 03/18/20 Page 2 of 3



              1      I.     INTRODUCTION

              2             New material facts have come to light since Plaintiffs filed their opposition and cross-motion

              3      on March 9, 2020. ECF No. 29. Specifically, as explained below, Plaintiffs re-served Defendants last

              4      week under the Hague Convention and the Central Authority in Israel issued the formal certificates

              5      of Hague service.

              6             Accordingly, Plaintiffs submit this Notice to ensure that the Court is aware of all of the facts

              7      necessary to decide (1) Defendants’ Application to Set Aside Entry of Default and to Enlarge Time

              8      to File Responsive Pleading to Complaint (ECF No. 24) and (2) Plaintiffs’ Cross-Motion to

              9      Authorize Alternative Service Pursuant to Federal Rule of Civil Procedure 4(f)(3) (ECF No. 29).

            10       II.    SUMMARY OF FACTS

            11              On March 2, 2020, the Clerk of the Court entered Default against Defendants NSO Group

            12       Technologies Ltd. and Q Cyber Technologies Ltd. ECF No. 22.

            13              On March 6, 2020, Defendants filed an application to set aside entry of default and to enlarge

            14       the time to respond to the Complaint. ECF No. 24. Defendants argued that entry of default should be

            15       set aside because Plaintiffs allegedly misled the Court about the facts regarding service on

            16       Defendants under the Hague Convention. Id. at 5. Defendants claimed that Hague service was

            17       invalid because the Central Authority in Israel had identified purported deficiencies in Plaintiffs’

            18       Hague application materials. Id. at 3–5. Defendants further argued that Hague service was

            19       incomplete because the Central Authority in Israel had not yet issued the formal certificates of

            20       service pursuant to the Hague Convention. Id. Defendants also requested an additional 120 days to

            21       respond to the Complaint. Id. at 6–7.

            22              On March 9, 2020, Plaintiffs opposed Defendants’ application. ECF No. 29. Plaintiffs

            23       explained that they had been fully candid with the Court regarding the facts surrounding Hague

            24       service, and moreover, there was no dispute that Defendants had been fully aware of the litigation

            25       since the day it was filed. Id. at 3–5. Because Defendants have now appeared in this case, Plaintiffs

            26       agreed that the Court should set aside entry of default so that this litigation may proceed. Id. at 5–6.

            27       But, in order to prevent further delay, Plaintiffs requested that the Court authorize alternative service

            28       by email and deny Defendants’ request for an extension of time to respond to the Complaint. Id. at
  COOLEY LLP
ATTO RNEY S AT LAW                                                    -2-                     NOTICE OF SUPPLEMENTAL FACTS
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
                             Case 4:19-cv-07123-PJH Document 33 Filed 03/18/20 Page 3 of 3



              1      6–15.

              2               After Plaintiffs filed their opposition and cross-motion (ECF No. 29), Plaintiffs re-served

              3      Defendants on March 12, 2020, again in accordance with the applicable provisions of the Hague

              4      Convention. On March 16, 2020, the Israeli Central Authority issued the formal certificates of

              5      Hague service showing that service has been fully accomplished under the Hague Convention. See

              6      ECF No. 32 (attaching copies of the formal certificates of Hague service for both Defendants). Thus,

              7      there is no doubt that both Defendants have been properly served, and Defendants’ objections

              8      regarding the adequacy of service are moot. Pending the Court’s recognition that service was

              9      properly accomplished on March 12, 2020 (or pending Defendants’ admission of that fact), Plaintiffs

            10       move to withdraw their motion for alternative service.

            11       III.     CONCLUSION

            12                Because there can be no dispute that Hague service was properly accomplished on March 12,

            13       2020, Plaintiffs respectfully request that the Court:

            14                1.     Strike Defendants’ objections to the adequacy of service as moot;

            15                2.     Strike Plaintiffs’ motion for alternative service; and

            16                3.     Deny Defendants’ request for an additional 120 days to respond to the Complaint.

            17

            18       Dated: March 18, 2020                          Respectfully submitted,

            19                                                      COOLEY LLP

            20                                                      /s/ Travis LeBlanc
                                                                    Michael G. Rhodes
            21                                                      Travis LeBlanc
                                                                    Daniel J. Grooms
            22                                                      Kyle C. Wong
                                                                    Joseph D. Mornin
            23
                                                                    Attorneys for Plaintiffs
            24                                                      WHATSAPP INC. and FACEBOOK, INC.

            25
            26

            27

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                     -3-                    NOTICE OF SUPPLEMENTAL FACTS
 SAN FRA NCI S CO                                                                                CASE NO. 3:19-CV-07123-JSC
